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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RANDALL EWING and YASMANY                            )
GOMEZ,                                               )
                                                     ) Case No. 16-cv-9930
                        Plaintiffs,                  )
                                                     ) Judge Sharon Johnson Coleman
                v.                                   )
                                                     )
1645 W. FARRAGUT, LLC,                               )
                                                     )
                        Defendant.                   )

                                               ORDER

        The plaintiffs’ motion for partial judgment [51], which has alternatively been styled as a

motion for judgment on the pleadings or a motion for summary judgment, is denied.

                                            STATEMENT

        Following the collapse of the real estate transaction at issue here, the defendant retained the

plaintiffs’ earnest money in escrow, claiming it as liquidated damages. This Court, in a prior ruling,

dismissed the defendant’s liquidated damages counterclaim. The terms of the contract between the

parties provides that, in the event that the contract is terminated, the escrowee may refund the

earnest money upon the joint written direction of the parties or upon a court order. The plaintiffs,

in light of this Court’s prior ruling concerning the liquidated damages counterclaim, now move this

Court to issue a judgment ordering that the defendants’ consent to the release of the earnest money

and awarding the plaintiffs prejudgment interest and attorneys’ fees.

        The plaintiffs’ motion is unpersuasive. The plaintiffs offer no argument or legal analysis

establishing that they are entitled to immediate possession of the funds held in escrow. Instead, they

appear to rely only on this Court’s prior rejection of the defendant’s assertion that it was entitled to

receive the earnest payment as liquidated damages. The Court’s rejection of that legal theory,

however, in no way established that the plaintiffs were entitled to immediate possession of the funds

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held in escrow. To the contrary, the contractual language that the plaintiffs rely on makes clear that,

absent agreement of the parties, the funds in question are to remain in escrow until the issuance of a

court order adjudicating the parties respective rights to those funds. The modified contract,

moreover, expressly provides that the earnest money held in escrow may be back-charged prior to

release in order to rectify the plaintiffs’ selections. This Court has not yet adjudicated the parties’

respective rights to the earnest money presently held in escrow, and the plaintiffs’ conclusory

arguments have failed to establish any legal basis for ordering the release of those funds at the

present time. The plaintiffs’ motion is accordingly denied.



        SO ORDERED.



                                                         ____________________________________
                                                         Sharon Johnson Coleman
                                                         United States District Court Judge
DATED: 5/18/2018




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